          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL NO. 3:02CR144


UNITED STATES OF AMERICA                  )
                                          )
                                          )
              VS.                         )           ORDER
                                          )
                                          )
TAIWANNA SULLIVAN                         )
                                          )


      THIS MATTER is before the Court on remand from the Fourth Circuit

Court of Appeals reversing the part of this Court’s Judgment filed April 19,

2006, which ordered the “complete remittance of [Defendant’s] victim

restitution . . . previously ordered [paid] pursuant to the Mandatory Victim

Restitution Act.” See, United States v. Sullivan, 2007 WL 2032000 (4th

Cir. 2007).

      Pursuant to the Fourth Circuit’s remand,

      IT IS, THEREFORE, ORDERED that the Court’s Judgment of

Conviction filed March 13, 2003, directing the Defendant to pay restitution

pursuant to the Mandatory Victim Restitution Act in the amount of

$110,764.79 is hereby REINSTATED and the remaining terms and




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conditions set forth in the Court’s April 19, 2006, Amended Judgment of

Conviction remain in full force and effect.

      The Clerk shall prepare an Amended Judgment in accordance with

this Order.

                                       Signed: August 22, 2007




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